
ORDER
11 Considering the Motion for Revocation of Conditional Admission filed jointly by respondent and the Office of Disciplinary Counsel,
IT IS ORDERED that respondent’s conditional admission to the practice of law in the State of Louisiana be revoked, effective immediately. Respondent may not reapply for admission until he can demonstrate at least a one-year period of sobrb ety and compliance with the terms and conditions of a contract with the Judges and Lawyers Assistance Program. Should respondent thereafter choose to submit an application for readmission, he shall comply with all requirements of Supreme Court Rule XIX, § 24.
IT IS FURTHER ORDERED that respondent shall pay all costs associated with these proceedings.
FOR THE COURT:
/s/ James T. Genovese JUSTICE, SUPREME COURT OF LOUISIANA
